EIJ:F|.» .£LUE L!E| 350 |"'-l‘lil':l'$ ‘EJ"-.‘.'J

Llnl!:od Etatos |J'istrir:.t Cour@aMB&OOMS-|\/|SN

 

 

 

 

 

 

 

 

 

 

 

'u"|n'.lat$on l"lot|ce E~`r g=_¢._|‘

aluminum l.'l-I\c-hl'n¢$='\r'l':- liller

73311545 \'31 111 `_,
von m=:E ¢Hn.m:t_n wj=m rHl; rinme N-:J v:c~l_r~Tlc\N w
MWTmfm--M:d-ml m-TN'qe-I:l --';|T-| J|..LE?- JML'Fa-du §
l,;rm;lan u,£.- ?£.L‘FR'-l.lg r;&`} §
mdm-

m

_&.£E_E$.ul-\F AT LIA
MWFHHHW H.l.h.ll.'|'\:l

eFEE'-:) ?5"'5¢‘
q

- -\

nEFEN::w-rr lmme

 

 

 

 

 

'r.¢gho gin 'r\- W“TLE: cch
'1 €."-.' "Hnlq*-+ HD lL_:mLs.§_E-nx£&._

 

B"E'\l¢= am a \s. c;HFl;:l-\~Fn_ wm uusr
F"I'-"l" .P.I'HJ'|..|H'|' ll'\-I.‘-ll:.\’|."`EE BELE"H

C|'I-i.F¢""'|-'I'_N'l I"| L-"W|'¢l.
ucr_mam;l:n:hc.qn- md ph nw

A n |F mi -I*. |E CHFENF|'|.
HJZET hPP'E.I*H|H El:."'
uch'l-:'H-&-;nm

. m
-=I=n+

l li'-i§ Fmrrarlme-Amum
+:a=:l mmi-q Fe-a
l _ . __ __

 

 

F'.l¢.'!'TI'|IS PHDL|HT-* li \l'q,E' r¢u|gdhwln"
mm unum mTE
ll"rll:ll??l.l'l'l 1 'll'\\l'. :ll h.;|.-l| *md“: m":
wm ' ' g hillan
AE'| Ec;urth::u.;ae F.~quar-a- _ ss
A|e:-::-:n;iria.‘-HJ~EF'BH mmmia&r_
E}qnl:'l

 

 

e-m-‘:~ finn -”..'-‘1 ‘Q
WWHleHr-il¢¢h#d'& ' mm vacuum-crer
IWHWFNWIWMMMHWNFHWFHMHIMM

_gr l

-;len- ninn'l.'.'¢ L'u¢i- E;l.IH-:q:.,-

DOCUm€

m Filed'@z¢@m§:@a¢¢;;m:§r§q§m#.§

l |:l.a1lli1.l1nl1 ill

l haw l-rlFl:rl:a'n-mt l:ll’El:'.r irl |h:l

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r _`.J\',`_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

T|'-n hugnl'rg sial:arr-arl ls bele upon'

I!.'.|-

-¢: mr hammle myoe¢aona¢ -m~eao-ga\iun
§ ir'.lr_'rrl'rminrl :Lq:l|:J`H:-l:| l:l:l mo fn:lrr' '11§|¢' fl:|k_ll'.l nflil;or':.qh'.;qruahun
n | mha-fiermaer aI:-:¢-.-»ar

§'d¢t¢|-B'IL|'METHEI'I','H J-h'_f..l'p'l'l'I-a'ltl'ld h'l'|\:\l"Tl-Ill|lrl'hl'li':l'l h-.'.l»¢'¢:'&-M*.CI'H'¢MH"EM
dlllhl:vll :\'|Hl|l-'¢ml-l'lon mll.trJE-itldn:l'mdhlh'mhsl MFF¢W¢\'E\‘!-gl.

rTI
nE=ro¢uh¢-d unr
ru-

 

E'En& lrl'ln'l.'d\:|.'g,",'“"| lII'|'E-:vor 5 Eignalun:l

`E

grubb l::\u:l- 11.1:'. h-l¢lln mm 1'r.vr l:l1-n newman nr.=l warran|
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-‘E:Emtad nn:
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L' 5 H-il;l`$tmla Ju¢;lga

EIJ

HlIlIlT-Wmikm-Idnmm F'»lM-'B-:rrr-:\nou-s-scrwvcrh:k.
EDL-F.¢;l'rl'nllrh|:rhur\lll;mpl; |'_I¢l"l,'.l;l'nn!rl;h|-I'i:.l;¢h-Qllawnw.dw

